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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DOMINIQUE HANKTON, * CIVIL ACTION
WILLIE RAY DAVIS, NO. 2:17-cv-06441
on behalf of themselves and all *
those similarly situated

* JUDGE NANNETTE
VERSUS JOLIVETTE BROWN

*
TACI INVESTMENTS, INC.,
KAMAL P. SINGH, SANJAY * MAGISTRATE JUDGE
MEHRA, MOHAMMED H. TILY, JOSEPH C. WILKINSON
REFEICK ALI *

JOINT MOTION FOR EXTENSION TO SUBMIT MOTION TO APPROVE
SETTLEMENT AGREEMENT AND TO REQUEST COURT RESOLULTION OF
ATTORNEYS’ FEES AND COSTS AWARD

NOW COME Plaintiffs, Dominique Hankton and Willie Ray Davis, on behalf of
themselves and all others similarly situated, and Defendants, TACI Investments, Inc., Kamal P.
Singh, Sanjay Mehra and Reffick Ali, improperly named Refeick Ali (Plaintiffs and Defendants
collectively, the “Parties”), through their undersigned counsel, who respectfully move the Court
for an Order extending the deadline for the Parties to file a written settlement agreement and a
joint motion to approve the settlement agreement (collectively, “Joint Motion to Approve the
Settlement Agreement”), and to submit Plaintiffs’ attorneys’ fees and costs award to the
Magistrate for resolution, if an agreement cannot be reached, until January 2, 2019. The current
deadline for filing the Joint Motion to Approve the Settlement Agreement and for requesting that

the Magistrate resolve the issue of Plaintiffs’ attorneys’ fees and costs award is December 18,

2018. However, additional edits and revisions to the written settlement agreement have become
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necessary and the Parties are working to finalize the agreement. Additionally, the Parties are still
negotiating an award for Plaintiffs’ attorneys’ fees and costs.

WHEREFORE, Plaintiffs Dominique Hankton and Willie Ray Davis, and Defendants,
TACI Investments, Inc., Kamal P. Singh, Sanjay Mehra and Reffick Ali, respectfully request that
the Court grant this motion, and extend the deadline for the parties to file the Joint Motion to
Approve the Settlement Agreement and to request that the Magistrate resolve the issue of
Plaintiffs’ attorneys’ fees and costs award, if necessary, to January 2, 2019.

Respectfully submitted,

s/ Kenneth C. Bordes

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